             Case 1:05-cr-00161-LJO Document 659 Filed 12/01/08 Page 1 of 2


P R O B 35           ORDER TERMINATING SUPERVISED RELEASE
                           PRIOR TO EXPIRATION DATE


                           UNITED STATES DISTRICT COURT
                                     FOR THE
                          EASTERN DISTRICT OF CALIFORNIA

UNITED STATES OF AMERICA                          )
                                                  )
                            vs.                   )     Docket Number: 1:05CR00161 OWW
                                                  )
LEOPOLDO ARENAS                                   )
                                                  )


On May 23, 2005, the above-named was placed on supervised release for a period of three
years. He has complied with the rules and regulations of supervision. It is accordingly
recommended that he be discharged from supervision.

                                    Respectfully submitted,

                                      /s/ Rick C. Tarazon

                                    RICK C. TARAZON
                              United States Probation Officer

Dated:         11/05/2008
               Fresno, California


REVIEWED BY:           /s/ Hubert J. Alvarez
                     HUBERT J. ALVAREZ
                     Supervising United States Probation Officer




                                                                                                         R ev. 05/2006
                                                              E A R LY T E R MIN A T IO N ~ O R D E R (P R O B 35).M R G
           Case 1:05-cr-00161-LJO Document 659 Filed 12/01/08 Page 2 of 2


Re:   Leopoldo Arenas
      Docket Number: 1:05CR00161 OWW
      ORDER TERMINATING SUPERVISED RELEASE
      PRIOR TO EXPIRATION DATE




                                  ORDER OF COURT

It is ordered that the supervised releasee be discharged from supervised release, and that
the proceedings in the case be terminated.



IT IS SO ORDERED.

Dated: November 26, 2008                    /s/ Oliver W. Wanger
emm0d6                                 UNITED STATES DISTRICT JUDGE




                                                                                                       R ev. 05/2006
                                                            E A R LY T E R MIN A T IO N ~ O R D E R (P R O B 35).M R G
